                                         13 Filed 11/15/21
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The New York Times Building
101 6th Avenue
New York, New York 10013                               MEMO ENDORSED:
646.341.6554
sstecker@constangy.com
                                                       The conference currently scheduled for
                                                       November 18, 2021 will now take place on
November 10, 2021                                      February 17, 2022 at 11:30 a.m.

Via ECF
The Honorable Paul G. Gardephe
United States District Court Judge
Southern District of New York
40 Foley Square
New York, New York 10007                               Dated: November 15, 2021

Re:    Schneidermesser v. NYU Grossman School of Medicine, Case No. 1:21-cv-07179

Your Honor:

I represent Defendant NYU Grossman School of Medicine in this case. I write jointly with counsel
for Plaintiff Eileen Schneidermesser. The parties respectfully request that the initial pretrial
conference, currently scheduled for November 18, 2021, at 11:00 AM, be adjourned sine die due
to the mediation that was ordered by the Court, pursuant to the M-10-468 Second Amended
Standing Order. Thank you for Your Honor’s consideration of this request.

                                                   Respectfully submitted,

                                                   s/ Stephen Stecker

                                                   Stephen Stecker
                                                   Counsel for Defendant
